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                                                                  ENGLISH TRANSLATION


                                      PRESS RELEASE
            IN RELATION TO THE INVESTIGATION PAPERS RETURNED BY MACC
                     ON SRC INTERNATIONAL AND “RM2.6 BILLION”


       I have thoroughly perused all the witness statements and the documents in the
       investigation papers as well as the response given by MACC on my queries for
       clarification in relation to the investigation paper on the alleged RM2.6 billion
       and the two investigation papers in relation to SRC International which were
       returned to me by the Malaysian Anti-Corruption Commission (MACC).


       A.      “2.6 BILLION”


            1. With regards to the investigation paper on the alleged “RM2.6 billion”
               which was transferred into the personal account of YAB PM, I am
               satisfied that based on the evidence from witnesses and supporting
               documents submitted to me by the MACC show that the sum of USD681
               million (RM2.08 billion) transferred into the personal account of YAB PM
               between 22.03.2013 and 10.04.2013 is a personal donation to YAB PM
               from the Saudi royal family which was given to him without any
               consideration.


       2.      MACC in their investigation personally met and recorded statements
               from witnesses including the donor which confirm that the donation was
               given to YAB PM personally.


       3.      I am satisfied that there is no evidence to show that the donation was a
               form of gratification given corruptly. Evidence obtained from the
               investigation does not show that the donation was given as an
               inducement or reward for doing or forbearing to do anything in relation
               to his capacity as a Prime Minister.


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                                                                ENGLISH TRANSLATION




       4.   Furthermore, in August 2013, a sum of USD620 million (RM2.03 billion) was
            returned by YAB PM to the Saudi royal family because the sum was not
            utilized.


       5.   Based on the evidence from witnesses and supporting documents
            submitted, I am satisfied that no criminal offence has been committed
            in relation to the said RM2.08 billion donation.


       6.   On the same matter, I am satisfied that as no criminal offence has been
            committed, there is no necessity for Malaysia to make a request for a
            mutual legal assistance      to any foreign States for the purpose of
            completing the criminal investigation by the MACC in relation to the
            said RM2.08 billion donation.


       B.   SRC INTERNATIONAL


       7.   With regards to the two investigation papers on SRC International, I am
            satisfied that no criminal offence has been committed based on the
            following reasons:


            7.1    Under the MACC Act 2009


                   a.    There are no evidence to show that YAB PM has abused his
                         position during the Cabinet Meeting which approved the
                         government guarantee on the RM4 billion loan to SRC
                         International      from   Kumpulan     Wang      Persaraan
                         (Diperbadankan) (KWAP);




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                  b.   Evidence also show that the loan approval process by
                       KWAP and the loan guarantee approval by the Cabinet
                       were properly done;


                  c.   There are no evidence to show that YAB PM had solicited or
                       was promised any gratification from any party either before,
                       during or after the Cabinet decision was made;


                  d.   The evidence as a whole does not disclose any conflict of
                       interest on the part of YAB PM; and


                  e.   MACC itself admitted that based on their investigation,
                       there are no evidence from the witnesses that could show
                       that YAB PM had committed any act of corrupt practice.




            7.2   Under the Penal Code


                  a.   There are no evidence to show that YAB PM had any
                       knowledge and/or was informed that monies had been
                       transferred into his personal accounts from the account of
                       SRC International;


                  b.   There are no evidence to show that YAB PM had given any
                       approval for the transfer of monies from the account of SRC
                       International into his personal accounts; and


                  c.   Evidence show that at all material times, YAB PM was of the
                       belief that all payments which were made by him were
                       made from the donation received from the Saudi royal
                       family which was earlier transferred to his personal
                       accounts.


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       8.   Based on the facts and evidence as a whole, I, as the Public Prosecutor,
            am satisfied that no criminal offence has been committed by YAB PM in
            relation to the three investigation papers. I will return the relevant
            investigation papers to MACC today with the instruction to close the
            three investigation papers (NFA/KUS).


       TAN SRI DATO’ SRI HAJI MOHAMED APANDI BIN HAJI ALI
       Attorney General of Malaysia
       26 January 2016




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